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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )
                                                  )
vs.                                               )       No. 01-cr-40036 JPG
                                                  )
DIMARCUS TARAH TABB,                              )
                                                  )
       Defendant.                                 )

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Dimarcus Tarah Tabb’s motion for

leave to proceed in forma pauperis on appeal (Doc. 214) and motion for the Clerk of Court to

serve the docketing statement on the Court of Appeals (Doc. 215).

I.     In Forma Pauperis Status

       Tabb does not need the Court’s permission to proceed on appeal in forma pauperis

because the Court determined earlier in this case that he was financially unable to obtain an

adequate defense. “A party . . . who was determined to be financially unable to obtain an

adequate defense in a criminal case . . . may proceed on appeal in forma pauperis without further

authorization” unless the district court certifies or a statute provides otherwise. Fed. R. App. P.

24(a)(3). The Court has not and will not certify that Tabb should not be allowed to continue as a

pauper, and no statute forbids it. Therefore, Tabb already has the authorization he needs, and

the motion for leave to appeal in forma pauperis (Doc. 214) is DENIED as moot.

II.    Docketing Statement

       Tabb asks the Clerk’s Office to prepare a docketing statement for him to use in his

appeal and to send it to the Court of Appeals. Tabb is responsible for preparing and submitting

his own docketing statement, and he has cited no authority for directing the Clerk’s Office to do
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it for him. The Court DENIES his motion (Doc. 215).

       The Court DIRECTS the Clerk of Court to send a copy of this order to the Court of

Appeals in connection with Appeal No. 09-3620.

IT IS SO ORDERED.
DATED: November 19, 2009.

                                           s/ J. Phil Gilbert
                                           J. PHIL GILBERT
                                           U.S. DISTRICT JUDGE




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